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                         Exhibit A
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                           for the
                                                         Western District
                                                       __________ Districtofof
                                                                             Virginia
                                                                               __________
                     Elizabeth Sines et al.
                                                                              )
                               Plaintiff                                      )
                                                                                                              3:17-cv-00072-NKM
                                  v.
                                  !                                           )        Civil Action No.
                           Kessler et al.                                     )
                                                                              )
                              Defendant                                       )

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
                                                               eNom Inc.
To:                                 5808 Lake Washington Blvd. NE, Suite 201 Kirkland, WA 98033, USA
                                                           legal@enom.com
                                                       (Name of person to whom this subpoena is directed)

      ✔
      ’ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
material:



 Place:mpeinovich@gmail.com                                                             Date and Time:
         or                                                                                                     June 9th, 2018
         PO Box 1069 Hopewell Junction, NY 12533

     ’ Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                Date and Time:



       The following provisions of Fed. R. Civ. P. 45 are attached – Rule 45(c), relating to the place of compliance;
Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
respond to this subpoena and the potential consequences of not doing so.

Date:         5/10/2018

                                  CLERK OF COURT
                                                                                            OR

                                           Signature of Clerk or Deputy Clerk                                         Attorney’s signature


The name, address, e-mail address, and telephone number of the attorney representing (name of party)
                                                                        , who issues or requests this subpoena, are:


                               Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil Action(Page 3)

                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (ii) disclosing an unretained expert’s opinion or information that does
                                                                                   not describe specific occurrences in dispute and results from the expert’s
  (1) For a Trial, Hearing, or Deposition. A subpoena may command a                study that was not requested by a party.
person to attend a trial, hearing, or deposition only as follows:                     (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or               described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                         modifying a subpoena, order appearance or production under specified
   (B) within the state where the person resides, is employed, or regularly        conditions if the serving party:
transacts business in person, if the person                                             (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party’s officer; or                                      otherwise met without undue hardship; and
      (ii) is commanded to attend a trial and would not incur substantial               (ii) ensures that the subpoenaed person will be reasonably compensated.
expense.
                                                                                   (e) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
   (A) production of documents, electronically stored information, or                (1) Producing Documents or Electronically Stored Information. These
tangible things at a place within 100 miles of where the person resides, is        procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                           information:
   (B) inspection of premises at the premises to be inspected.                        (A) Documents. A person responding to a subpoena to produce documents
                                                                                   must produce them as they are kept in the ordinary course of business or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                        must organize and label them to correspond to the categories in the demand.
                                                                                      (B) Form for Producing Electronically Stored Information Not Specified.
 (1) Avoiding Undue Burden or Expense; Sanctions. A party or attorney              If a subpoena does not specify a form for producing electronically stored
responsible for issuing and serving a subpoena must take reasonable steps          information, the person responding must produce it in a form or forms in
to avoid imposing undue burden or expense on a person subject to the               which it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The court for the district where compliance is required must                (C) Electronically Stored Information Produced in Only One Form. The
enforce this duty and impose an appropriate sanction—which may include             person responding need not produce the same electronically stored
lost earnings and reasonable attorney’s fees—on a party or attorney who            information in more than one form.
fails to comply.                                                                      (D) Inaccessible Electronically Stored Information. The person
                                                                                   responding need not provide discovery of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                            from sources that the person identifies as not reasonably accessible because
   (A) Appearance Not Required. A person commanded to produce                      of undue burden or cost. On motion to compel discovery or for a protective
documents, electronically stored information, or tangible things, or to            order, the person responding must show that the information is not
permit the inspection of premises, need not appear in person at the place of       reasonably accessible because of undue burden or cost. If that showing is
production or inspection unless also commanded to appear for a deposition,         made, the court may nonetheless order discovery from such sources if the
hearing, or trial.                                                                 requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible             26(b)(2)(C). The court may specify conditions for the discovery.
things or to permit inspection may serve on the party or attorney designated
in the subpoena a written objection to inspecting, copying, testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to             (A) Information Withheld. A person withholding subpoenaed information
producing electronically stored information in the form or forms requested.        under a claim that it is privileged or subject to protection as trial-preparation
The objection must be served before the earlier of the time specified for          material must:
compliance or 14 days after the subpoena is served. If an objection is made,            (i) expressly make the claim; and
the following rules apply:                                                              (ii) describe the nature of the withheld documents, communications, or
     (i) At any time, on notice to the commanded person, the serving party         tangible things in a manner that, without revealing information itself
may move the court for the district where compliance is required for an            privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                           (B) Information Produced. If information produced in response to a
     (ii) These acts may be required only as directed in the order, and the        subpoena is subject to a claim of privilege or of protection as
order must protect a person who is neither a party nor a party’s officer from      trial-preparation material, the person making the claim may notify any party
significant expense resulting from compliance.                                     that received the information of the claim and the basis for it. After being
                                                                                   notified, a party must promptly return, sequester, or destroy the specified
 (3) Quashing or Modifying a Subpoena.                                             information and any copies it has; must not use or disclose the information
   (A) When Required. On timely motion, the court for the district where           until the claim is resolved; must take reasonable steps to retrieve the
compliance is required must quash or modify a subpoena that:                       information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                               present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits               compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                           produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, if no      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                       (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a              The court for the district where compliance is required—and also, after a
subpoena, the court for the district where compliance is required may, on          motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                               who, having been served, fails without adequate excuse to obey the
      (i) disclosing a trade secret or other confidential research,                subpoena or an order related to it.
development, or commercial information; or



                                         For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
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   UNITED STATES DISTRICT COURT FOR THE WESTERN DISTRICT OF VIRGINIA
                       CHARLOTTESVILLE DIVISION


   ELIZABETH SINES, ET AL.,                                    Case No. 3:17-cv-00072-NKM

   Plaintiffs,                                                 Hon. Norman K. Moon
   v.

   JASON KESSLER, ET AL.,

   Defendants.



                            DEFENDANT MICHAEL PEINOVICH’S
                         SUBPOENA FOR DOCUMENTS TO eNOM, INC.

          YOU ARE HEREBY COMMANDED, pursuant to Fed. R. Civ. P. 45, to produce the

   documents and things designated herein for inspection by electronic means to the email address

   mpeinovich@gmail.com or by methods agreed to via discussions with defendant Michael

   Peinovich, within 30 days of service, as provided under the Federal Rules of Civil Procedure.

   This subpoena for documents, including each individual Request for Documents (collectively,

   the “Requests”), shall be read and interpreted in accordance with the definitions and instructions

   identified below.


                               DEFINITIONS AND INSTRUCTIONS

          Peinovich incorporates by reference all the instructions, definitions, and rules contained

   in the Federal Rules of Civil Procedure, and for purposes of this Subpoena, the following

   instructions and definitions shall apply:




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   1. The singular of each word shall be construed to include its plural and vice-versa, and the root

   word and all derivations (e.g., “ing,” “ed”) shall be construed to include each other. The words

   “and” as well as “or” shall be construed both conjunctively and disjunctively.

   2.   The present tense shall be construed to include the past tense and vice-versa. Where it is

   necessary to bring within the scope of these Requests information that might otherwise be

   construed to be outside their scope, the use of a verb in any tense shall be recognized as the use

   of that verb in all other tenses.

   3. “And” and “or” shall both be construed as “and / or.”

   4. The word “any” shall be construed to include “all” and vice-versa.

   5. The term “concerning” means “relating to,” “referring to,” “describing,” “evidencing,” or

   “constituting.”

   6.   The terms “communication” and “communications” are defined to include any document,

   snail mail, email, phone call, text message, Facebook message, Facebook post, tweet on Twitter,

   direct message on Twitter, chat or message on any social media platform, and any other means

   used to convey information from one person to any other person or persons in any form.

   7.     The terms “document” and “documents” are defined to be synonymous in meaning and

   equal in scope to the usage of the term “documents” in Fed. R. Civ. P. 34(a)(1)(A). The terms

   “document” and “documents” are defined to include all writings of every kind and all

   electronically stored information (“ESI”), including but not limited to videos, photographs,

   sound recordings, images, charts, maps, records, memoranda, correspondence, handwritten or

   typewritten notes, calendars, diaries, telephone messages, data or data compilations, emails,

   attachments to emails, instant messages, PowerPoint presentations, spreadsheets, all other


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   writings in hard copy or in electronic form, and all other material stored on computers, computer

   discs, CDs, DVDs, Blackberry or smartphone devices, tablets, personal digital assistants, USB

   “thumb” drives, electronic calendars, and telephone systems.

   8.    The terms “electronically stored information” and “ESI” are defined to be synonymous in

   meaning and equal in scope to the usage of “electronically stored information” in Fed. R. Civ. P.

   34(a)(1)(A). “ESI” includes data on all servers, including IP addresses, MAC addresses, active

   data, archived data, deleted data, and legacy data, as well as data on removable electronic media

   and in any other location where documents relevant to the Requests may be found.

   9.    When the term “identify” is used in this Subpoena, please supply the following information

   as context requires: i. when used in reference to a natural person, state the person’s full name,

   present or last known business and residential addresses, present or last known telephone

   numbers or other contact information; ii. when used in reference to any person who is not a

   natural person or to any association of persons including membership organizations, state the full

   name, present or last known address, and present or last known telephone number or other

   contact information; iii. when used in reference to an object, state the nature, type, and location

   of the object and identify the person (natural or non-natural) who has custody or control over the

   object.

   10. The terms “you” and “your” include the person(s) to whom these Requests are addressed,

   and all of that person’s agents, representatives, and attorneys.

   11. The term “including” shall be construed as “including, but not limited to.”

   12.       You should construe negative terms to include the positive, and vice-versa. For example,

   you should construe the word “preference” to mean “preference or lack of preference.”


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   13.    In producing documents, you are requested to produce the original of each document

   requested together with all non-identical copies and drafts of that document. If the original of any

   document cannot be located, a copy shall be provided in lieu thereof, and shall be legible and

   bound or stapled in the same manner as the original. In any circumstance in which an agreement

   is reached to allow the production of copies of documents rather than originals, you shall retain

   all of the original documents for inspection or copying throughout the pendency of this case, any

   appeal(s), and any related proceedings.

   14. Any alteration of a responsive document, including any marginal notes, handwritten notes,

   underlining, date stamps, received stamps, endorsed or filed stamps, drafts, revisions,

   modifications, and other versions of a document, is a responsive document in its own right and

   must be produced.

   15. Any reference to a person that is a business entity and is not otherwise defined includes that

   person’s predecessors (including any pre-existing person that at any time became part of that

   entity after merger or acquisition), successors, parents, divisions, subsidiaries, affiliates,

   franchisors and franchisees; each other person, directly or indirectly owned or controlled by any

   of them; each partnership or joint venture to which any of them is a party; all present and former

   directors, officers, employees, agents, consultants, controlling shareholders (and any entity

   owned by any such controlling shareholder), and attorneys of any of them; and any other person

   acting for or on behalf of any of them.

   16. Unless words or terms have been given a specific definition herein, each word or term used

   herein shall be given its usual and customary dictionary definition, except where such words

   have a usual custom and usage definition in your trade or industry, in which case they shall be


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   interpreted in accordance with such usual custom and usage definition of which you are aware.

   17.    Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, documents shall be

   produced either (a) as they are kept in the usual course of business (in which case they shall be

   produced in such fashion as to identify the department, branch or office in whose possession it

   was located and, where applicable, the natural person in whose possession it was found or the

   server or central file in which it was found, and the address of each document’s custodian(s)), or

   (b) segregated as responsive to a specific Request enumerated in these Requests, with such

   specific Request identified.

   18. If identical copies of a document are in the possession, custody or control of more than one

   natural person or other document custodian, a copy of that document shall be produced from

   each such natural person or other document custodian.

   19.   In instances where two or more exact duplicates of any document exist, the most legible

   copy shall be produced.

   20. If you file a timely objection to any portion of a Request, definition, or instruction, provide

   a response to the remaining portion.

   21.    If you are unable to produce a document that is responsive to a Request, so state and

   indicate whether the document ever existed or whether the document once existed but cannot be

   located. If any responsive document once was, but is no longer, in your possession, custody or

   control, state the whereabouts of such document when last in your possession, custody or

   control, state the date and manner of its disposition and identify its last known custodian. To the

   extent that any responsive document was lost or destroyed, produce any document that supports




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   your assertion that the document was lost or destroyed, and provide the date when each such

   document was lost or destroyed.

   22. These Requests are continuing and require supplemental responses in accordance with the

   requirements of Federal Rule of Civil Procedure 26(e).

   23.   The terms defined above and used in each of the Requests should be construed broadly to

   the fullest extent of their meaning in a good-faith effort to comply with the Federal Rules of Civil

   Procedure.

                                DOCUMENTS TO BE PRODUCED

   Document Request No. 1:        Communications, documents, and ESI sufficient to identify the

   persons, including entities, that have presently registered or ever in the past registered the

   domains itsgoingdown.org and crimethinc.com.




   Dated: 5/10/2018


                                                        Respectfully requested,




                                                        Michael Peinovich



   Notice will be provided to parties in this case in accordance with F.R.C.P. 45.




                                                          Michael Peinovich

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